                 IN THE UNITED STATES DISTRICT COURT
      FOR THE EASTERN DISTRICT OF WISCONSIN, MILWAUKEE DIVISION




LEO HARDY,                         )
                                   )
             Plaintiff,            )    2:13-cv-00769-JPS
                                   )
             vs.                   )
                                   )    Judge J.P. Stadtmueller
CITY OF MILWAUKEE, et. al.,        )
                                   )
             Defendants.           )    JURY TRIAL DEMANDED




                     PLAINTIFF’S REPLY IN SUPPORT OF HIS
                   PETITION FOR ATTORNEYS’ FEES AND COSTS




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                                          Introduction

       For all of the arguments in Defendants' Response, nowhere do they dispute the

fundamental point that most of the attorneys' fees now at issue could have been avoided had the

City accepted Plaintiff's extremely reasonable settlement demand. Plaintiff not only offered to

accept $10,000 in compensation, but in order to ensure that attorneys' fees were not an obstacle,

his counsel offered to waive more than 95% of their attorneys' fees (all but $15,000).

       Apparently believing it had the upper hand, the City refused to negotiate. The City's

refusal to offer a single dime forced time-consuming summary judgment briefing and a trial,

billable hours for which Plaintiff's counsel now seeks compensation. Plaintiff is not suggesting

that there is any rule that Defendants must resolve cases. But having made litigation decisions

that caused substantial attorneys' fees to accrue, Defendants are on thin ground arguing that

Plaintiff should not be paid for that time. Under well-settled law, the lodestar is presumptively

appropriate compensation where, as here, Plaintiff prevails financially on at least some of his

claims and, more importantly, accomplishes his litigation goals.

       Here, the $506,000 verdict is a huge and undeniable win. This is not a "nominal" verdict,

particularly in light of the relatively modest injuries Mr. Hardy suffered. Not only were Mr.

Hardy's constitutional right vindicated and meaningfully compensated, but the entire Milwaukee

community benefited from the message sent by the $500,000 punitive damage, one almost

certain to help deter other Milwaukee police officers from engaging in the same sort of

misconduct in the future. Even if ultimately remitted by the Court to the maximum amount the

Court deems appropriate, the verdict is still fairly characterized as a tremendous success. And

nothing about the law surrounding Section 1988 justifies the type of downward departure

advocated by the Defendants.



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I.     There Is No Justification For Any Blanket Reduction In The Lodestar

       Defendants begin their Response by contending that no attorneys' fees are appropriate at

all, or else some very small percentage. There is no merit to these arguments.

       A.      The Full Lodestar Is The Presumptively Appropriate Result

       Congress passed Section 1988 to encourage skilled counsel to take up civil rights cases,

which tend to be time-consuming, difficult to win, and lacking any guarantee of payment. As

such, the law provides that lawyers who win these cases are entitled to compensation valued by

their lodestar, i.e., all of the hours reasonably expended on the litigation times their reasonable

hourly rates. County of Riverside v. Rivera, 477 U.S. 561, 574-81 (1986) ("In order to ensure

that lawyers would be willing to represent persons with legitimate civil rights grievances,

Congress determined that it would be necessary to compensate lawyers for all time reasonably

expended on a case") (emphasis supplied). Indeed, under well-settled Seventh Circuit and

Supreme Court law, not only is "no compensation" a wholly inappropriate result, but, quite the

opposite, the full lodestar is the presumptive fee. See, e.g., Perdue v. Kenny A., 559 U.S. 542,

552 (2010) (noting a "strong presumption" of reasonableness that attaches to a full lodestar

calculation of attorney's fees, and holding that fees may be adjusted downward only in "those

rare circumstances in which the lodestar does not adequately take into account a factor that may

properly be considered in determining a reasonable fee"); Pickett v. Sheridan Health Care Ctr.,

664 F.3d 632, 639 (7th Cir. 2011) ("The lodestar approach forms the 'centerpiece' of attorneys'

fee determinations, and it applies even in cases where the attorney represents the prevailing party

pursuant to a contingent fee agreement."); Dunning v. Simmons Airlines, Inc., 62 F.3d 863, 872

(7th Cir. 1995) ("[Courts employ a] strong presumption that the lodestar figure -- the product of

reasonable hours times a reasonable rate -- represents a reasonable fee," a presumption that is

"wholly consistent" with the purposes of Section 1988).


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       B.      There Was No "Lack of Success" Here Of The Sort That Could Justify An
               Additional Reduction In The Lodestar

       Ignoring the $500,000 punitive damage award, Defendants' Response attempts to

characterize this verdict as a "nominal" or "trifling" victory. Resp. at 3. To the contrary, there

was nothing nominal, technical or de minimis about this jury's award. Plaintiff prevailed on his

claims that Defendants Garland and Gasser violated his Fourth Amendment rights when they

stopped and frisked him without legal justification and then falsely arrested him, which are

significant constitutional violations even if these violations did not result in significant

compensable damages. And as stated, this case furthered a significant public goal and sent a

clear message to the community that the it will not tolerate police officers who violate citizens'

rights as Defendants Gasser and Garland were found to have done here. The underlying injuries

at issue may not have been pecuniary or overwhelming, but Mr. Hardy was fully compensated

for what he suffered, and there is no justification to cut attorneys' fees on that basis.

       And all of that ignores the punitive damages verdict, an award that cannot and should not

just drop out of the analysis. Even if the Court does decide to remit it to the maximum allowable

under the law, that award alone takes this case outside the Farrar realm of "nominal" damages.1

       For starters, Farrar itself involved a case in which the plaintiff sought $17 million in

damages, yet the jury awarded only a nominal damage of $1. Farrar, 506 U.S. at 116. Even so,

the Supreme Court's holding in Farrar is that a nominal damage award does not automatically

deprive a Section 1983 plaintiff of his prevailing party status. Aponte v. City of Chicago, 728

F.3d 724, 726 (7th Cir. 2013) ("Farrar v. Hobby holds that plaintiffs who bring § 1983 claims
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  The Seventh Circuit has adopted the three-part test in Justice O'Connor's concurrence in
Farrar v. Hobby, 506 U.S. 103 (1992) to determine attorneys' fee awards in cases where the
court has determined that the prevailing party obtained only a "technical or de minimis" victory.
Aponte v. City of Chicago, 728 F.3d 724, 727 (7th Cir. 2013) (quoting Farrar, 506 U.S. at
120-22 (O'Connor, J., concurring)).
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and win only "nominal" damages are still "prevailing parties" under § 1988 and thus eligible to

receive reasonable attorney's fees.").

        In Aponte, the plaintiff brought a § 1983 police misconduct case alleging to eight police

officers violating his Fourth Amendment rights when they searched his home pursuant to a

warrant and in doing so destroyed his property. 728 F.3d at 725-26. After a three day trial,

"Aponte's counsel urged the jury to award him $25,000 in compensatory damages ($10,000 for

property damages and $15,000 for emotional damages) and $100,000 in punitive damages

($25,000 from each individual defendant)." Id. at 726. Instead, the jury awarded Mr. Aponte

$100 in compensatory damages against one of the eight defendants. Id. The Seventh Circuit

affirmed the court's application of the Farrar test in that case because the verdict was de minimis

in light of overall result Plaintiff obtained. Id. at 729-30.

        This case is not Farrar and it is not Aponte. Here, Plaintiff's counsel suggested a range

for compensatory damages from $3,000 to $8,000 for each claim. See Trial Tr. vol. 4 (8/7/14) at

897. The jury awarded slightly less than the bottom of (but within) the range that counsel

suggested for the unlawful stop and frisk claims against Defendants Gasser and Garland: $2,500

each and $1,000 for his false arrest claim. For punitive damages, Plaintiff's counsel did not even

suggest a range for the jury's award, but only advised that they should "send a message." The

jury then awarded $250,000 against each Defendant for a total of $500,000. This verdict found

the two main Defendants committed Fourth Amendment violations and awarded meaningful

compensation and significant punitive damages. The jury's verdict cannot be fairly characterized

as de minimis or nominal to warrant application of the Farrar standard here. See also Olian v.

Board of Educ., City of Chicago, 2010 WL 1197100, *2 (N.D. Ill. March 22, 2010) ("In cases

that involve more than a nominal award, however, the Seventh Circuit has explicitly 'rejected the

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notion that the fee award should be reduced because the damages were smaller than a plaintiff

originally sought'"), citing Enoch v. Tienor, 570 F.3d 821, 823 (7th Cir. 2009).

       The other cases on which Defendants rely are similarly easily distinguishable. In Bayer

v. Marinette County, 06-365, 2008 WL 4065934, *4 (E.D. Wis. Aug. 27, 2008), the court applied

the Farrar standard because the jury awarded only nominal damages of $1 to plaintiff because

there was no proof of compensable injury in case brought by a strip club owner for the manner in

which his club was searched as part of drug and prostitution investigation. Id. Plaintiff had

sought at the very minimum $20,000 in compensatory and punitive damages, yet ended up with

$1. Id. And the other cases on which Defendants rely did not even apply the Farrar standard

because the plaintiffs obtained compensable, albeit modest damages awards. See, e.g.,Sottoriva

v. Claps, 331 Fed. Appx. 384, 385 (lodestar was reduced because plaintiff only obtained right to

a hearing before payments could be withheld from his paycheck when he had sought injunctive

relief and damages for alleged tax losses); Cole v. Wodziak, 169 F.3d. 486 (7th Cir. 2013)

(affirming reduction of lodestar for limited success on claims that the court calculated at three

times the total damages award). As a result, these courts reduced the lodestar based on the

specific facts of those cases and the limited success those plaintiffs obtained, but the courts did

not apply the Farrar standard.2

       More tellingly, Defendants mischaracterize Plaintiff's victory as "one that served his

individual interests, rather than advancing some larger public purpose." Def. Resp. at 4. This is

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  One of the key factors the Cole court weighed in reducing the fee award in that case was the
fact that the plaintiffs rejected a settlement offer of $5,000 when the jury ultimately awarded
them only $4,500. Id. at 489 (plaintiff could have "saved everyone a good deal of time and
money, and opened a slot for another trial on the district court's calendar, by showing equal
candor earlier" about willingness to accept $2,000 plus an apology to settle the case). This case
is the opposite: Defendants refused to settle, and Plaintiff went on to recover more than a half a
million dollars.
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completely inaccurate. Far more so than most verdicts, this civil rights victory advanced

important public interests by serving a rare and useful function in our society: holding law

enforcement accountable when officers cross the line and violate the Constitution. Other than

civil jury verdicts, there are few, if any, other effective mechanisms to ensure scrupulous

observations of Constitutional rights. When litigants like Mr. Hardy, represented by attorneys

like Plaintiff's counsel, invest the substantial time and effort (all at great risk of recovering

nothing) that it takes to win cases like this one, the net result forces the entire law enforcement

community to recommit to respecting people's rights.

        Favorable civil rights jury verdicts are thus an important aspect of deterrence in our

system of checks and balances, and one the courts have specifically recognized as serving a

salutary public purpose. City of Riverside, 477 U.S. at 574-75 ("Unlike most private tort

litigants, a civil rights plaintiff seeks to vindicate important civil and constitutional rights that

cannot be valued solely in monetary terms."). Accordingly, under Section 1988, winning civil

rights lawyers are to be paid "for all the time reasonably expended on the matter." Id. "Because

damages awards do not reflect fully the public benefit advanced by civil rights litigation,

Congress did not intend for fees in civil rights cases, unlike most private law cases, to depend on

obtaining substantial monetary relief." Id. at 575. See also Robinson v. Harvey, 489 F.3d 864,

872 (7th Cir. 2007) (quoted at greater length in Plaintiff's Petition) (jury award of $250,000 was

deemed more than sufficient to support the full lodestar, particularly because "the vindication of

[Plaintiff's] constitutional rights cannot be valued solely in monetary terms").




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        C.      The Fact That Mr. Hardy Did Not Prevail On Every Claim Does Not Merit A
                Downward Departure

        Lacking any proper reliance on the Farrar standard, Defendants' other lodestar-related

argument is that the fee award should be reduced to account for the fact that Plaintiff did not

prevail on every single claim, namely, his strip search claims. Def. Resp. at 21-23. Specifically,

Defendants suggest that the lodestar should be reduced by 62.3%, which they calculated to

"reflect the number of claims on which Plaintiff was not successful." Id. at 22.

        Defendants' attempt to reduce the lodestar by "claims counting" has no support in the

law. See, e.g., Hensley, 461 U.S. at 435 n. 11. As the Supreme Court explained in Hensley: "We

agree with the District Court's rejection of a mathematical approach comparing the total number

of issues in the case with those actually prevailed upon. Such a ratio provides little aid in

determining what is a reasonable fee in light of all the relevant factors. Nor is it necessarily

significant that a prevailing plaintiff did not receive all the relief requested." Id. (internal

citation and quotation marks omitted). See also Lenard v. Argento, 808 F.2d 1242, 1245–46 (7th

Cir. 1987) ("For tactical reasons and out of caution lawyers often try to state their client's claim

in a number of different ways, some of which may fall by the wayside as the litigation proceeds.

[If the lawyer]. . . presents a congeries of theories each legally and factually plausible, he is not

to be penalized just because some, or even all but one, are rejected, provided that the one or ones

that succeed give him all that he reasonably could have asked for.").

        Instead, the appropriate legal test that the Court must apply is not the amount of the

damages recovered or even claims won, but rather the result obtained and whether the hours

spent were reasonable:

        Where a plaintiff has obtained excellent results, his attorney should recover a fully
        compensatory fee. Normally this will encompass all hours reasonably expended on the

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        litigation, and indeed in some cases of exceptional success an enhanced award may be
        justified. In these circumstances the fee award should not be reduced simply because the
        plaintiff failed to prevail on every contention raised in the lawsuit. Litigants in good
        faith may raise alternative legal grounds for a desired outcome, and the court's rejection
        of or failure to reach certain grounds is not a sufficient reason for reducing a fee. The
        result is what matters.

Hensley, 461 U.S. at 435 (citation omitted); see also Montanez, 755 F.3d at 553 ("Ultimately the

guiding inquiry is whether 'the plaintiff achieve[d] a level of success that makes the hours

reasonably expended a satisfactory basis for making a fee award.") (quoting Hensley, 461 U.S. at

434).

        Applying Hensley, Plaintiff should be awarded the full lodestar without any reduction

even though Plaintiff did not prevail on his strip search claims. This case was litigated from start

to finish as a common set of facts regarding Plaintiff's encounter with the Defendants on March

13, 2012. All of the discovery in this case was related to the entire encounter, not just the strip

search claims and summary judgment only involved the stop and frisk and false arrest claims.

This is exactly the sort of case that Hensley contemplates in terms of not easily parsing out the

time spent on the successful and unsuccessful claims because they all arose and were litigated

out of a common set of facts:

        In other cases the plaintiff's claims for relief will involve a common core of facts or will
        be based on related legal theories. Much of counsel's time will be devoted generally to
        the litigation as a whole, making it difficult to divide the hours expended on a
        claim-by-claim basis. Such a lawsuit cannot be viewed as a series of discrete claims.
        Instead the district court should focus on the significance of the overall relief obtained by
        the plaintiff in relation to the hours reasonably expended on the litigation.

Hensley, 461 U.S. at 435; see also Dunning, 62 F.3d at 873 ("Because of the interrelated nature

of the two claims, her attorneys had to prepare for the 'litigation as a whole'") (quoting City of

Riverside, 477 U.S. at 569); Gautreaux v. Chicago Housing Auth., 491 F.3d 649, 661-62 (7th

Cir. 2007) ("So long as the plaintiffs' lawyers' activities are factually related to issues on which

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the plaintiffs have achieved [success] and the work was reasonably calculated to result in relief,

the district court may grant attorneys' fees").

       It is equally well-settled that Plaintiff's counsel should not be "penalized" for trying to

win multiple claims. See Jaffee v. Redmond, 142 F.3d 409, 417 (7th Cir. 1998) ("when plaintiffs

attain success, courts should not decline to award fees to the plaintiffs' attorneys solely because

certain zealous advocacy that was appropriately provided their clients did not contribute directly

to that success. This approach would be at odds with the norms of professional responsibility.").

Indeed, "[i]f arguments that do not contribute to a plaintiff's ultimate success were not eligible

for compensation for that reason alone, then attorneys might be discouraged from raising novel

but reasonable arguments in support of their clients' claims and a disincentive for strong

advocacy could result." Partington v. Broyhill Furniture Indus., 999 F.2d 269, 273-74 (7th Cir.

1993) ("A lawyer who figures out the likeliest outcome in his favor, and aims only for that, is

likely to fall short. The good lawyer aims higher, and is not improvident to do so").

       For these reasons, Defendants' argument that the lodestar should be reduced by 62.3%

must be rejected. Such "claims counting" has no support in the law. Sottoriva, 441 Fed. Appx.

at 385, 2011 WL 4703075, at *1 ("We were especially concerned because the 67% reduction

might have been based on the fact that Sottoriva was unsuccessful on two of his three claims, a

form of "claim counting" disapproved by the Supreme Court.") (citing Hensley, 461 U.S. at 435

n. 11); cf. Cole, 169 F.3d at 487 ("A judge may not mechanically reduce the lodestar on account

of partial success. So, if a plaintiff asks for $50,000 and gets $45,000, a judge may not lop off

10% of the lodestar and award the rest as the reasonable fee."); Calderon v. Witvoet, 112 F.3d

275, 276 (7th Cir. 1997) (disapproving of a "meat-axe approach" to reducing lodestar fees, and




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stating that "[p]ercentage reductions of the kind the district court used are not a good way to

make adjustments for partial success").3

       Nor is there any proportionality requirement in Section 1988 fee awards. Leaving aside

that the verdict actually exceeds the fee award sought, the law does not require any

proportionality requirement. Were it otherwise, a case like this could never be brought, at least

not with the vigor it takes to win. Dunning v. Simmons Airlines, Inc., 62 F.3d 863 (7th Cir.

1995) ("In determining the reasonableness of attorney's fees, this court has rejected the notion

that the fees must be calculated proportionally to damages. . . As we understand §1988's

provision for allowing a 'reasonable attorney's fee,' it contemplates reasonable compensation, in

light of all of the circumstances, for the time and effort expended by the attorney for the

prevailing plaintiff, no more and no less"); Sheehan v. Donlen Corp., 173 F.3d 1039, 1047 (7th

Cir. 1999) ("This court has repeatedly rejected the notion that the fees must be calculated

proportionally to damages") (citing cases). As the Supreme Court has explained:

       A rule of proportionality would make it difficult, if not impossible, for individuals
       with meritorious civil rights claims but relatively small potential damages to
       obtain redress from the courts. This is totally inconsistent with Congress' purpose
       in enacting § 1988. Congress recognized that private-sector fee arrangements
       were inadequate to ensure sufficiently vigorous enforcement of civil rights. In
       order to ensure that lawyers would be willing to represent persons with legitimate
       civil rights grievances, Congress determined that it would be necessary to
       compensate lawyers for all time reasonably expended on a case.

Riverside v. Rivera, 477 U.S. 561, 575-78 (1986).




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  See also Olian v. Board of Educ., 2010 WL 1197100, *3 (N.D.Ill. March 22, 2010)
("Defendant seeks a reduction because Olian prevailed on only one of her five ADA claims.
Defendant argues that the five claims 'differed in scope' ... Again, the court disagrees. The
argument that Olian's fee award should be reduced because she succeeded on only one of her
several related claims is a request for the type of mechanical "claim-chopping" that Hensley
expressly rejected").
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       The Seventh Circuit's decision in Robinson v. City of Harvey, 489 F.3d 864, 872 (7th Cir.

2007) is particularly instructive on this point. In Robinson, the plaintiff was shot in the buttocks

by a police officer, who then accused him (falsely) of pointing a gun at him. At the civil trial,

the jury agreed with Mr. Robinson that the use of force was unreasonable because he had not

wielded a gun. Id. at 867.

       The Robinson district court awarded roughly $500,000 in attorneys' fees even though the

compensatory damages were only $25,000, far less than Mr. Robinson had requested, as well as

$250,000 in punitive damages. Robinson, 489 F.3d at 872. The defense appealed the fee award,

making the same sort of arguments the Defendants are making to this Court, arguments the

Seventh Circuit rejected for reasons equally applicable here. Robinson, 489 F.3d at 872 ("The

City argues that this minimal recovery did not constitute success warranting an award of the full

lodestar amount, especially considering that Robinson asked for more. ... [T]he vindication of

Robinson's constitutional rights cannot be valued solely in monetary terms. He effectively

persuaded a jury that a significant number of City of Harvey officials conspired to plant a gun at

the crime scene-a victory that serves the public interest by exposing to light disturbing police

malfeasance and grave municipal institutional failures, and one that will presumably help to

deter future constitutional violations by the City's officers. These achievements are anything but

minimal."); see also Ustrak v. Fairman, 851 F.2d 983 (7th Cir. 1988) ("But the value of Ustrak's

victory [$1,001] cannot be gauged by the modest size of the damages awarded. A judicial

decision that finds a violation of constitutional rights and punishes the perpetrator with an award

of punitive damages not only vindicates constitutional principles but is a deterrent to future

violations, to the benefit not only of the plaintiff but of others in similar situations.") (emphasis

added); Hyde v. Small, 123 F.3d 583, 585 (7th Cir. 1997) ("There is no minimum amount in

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controversy required in civil rights cases and no federal small claims court, so it is no abuse of

the federal district courts to bring the kind of suit that Hyde did, and therefore he should not be

disqualified from an award of attorneys' fees without which such a case would never be

brought.").

       In sum, the substantial result Plaintiff obtained here was not only significant vindication

of the violation of his constitutional rights, but also meaningful to the public in that the jury sent

a message that Milwaukee police officers are not above the law and must instead follow it.

Based on the law set forth above, Defendants' arguments should be rejected, and the full lodestar

should be awarded.4

       As a final note, it is certainly telling that Defendants themselves were only able to

identify 29.3 hours out of a total number of hours counsel spent litigating the case as supposedly

being limited exclusively to the strip search claims. See Def. Resp. at 14 (Table 2). Defendants'

argument should be rejected, but even if it was accepted, the most it would justify is a cut of 29.3

hours, not a dramatic 62% cut. Illinois Welfare Rights Organization v. Miller, 723 F.2d 564, 567

(7th Cir. 1983) (court should look to overall results of litigation when plaintiff prevails on some

claims but not other, related, claims).




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  The City's invocation of taxpayers should be rejected. There is no "tax dollar" exception in the
case law surrounding the lodestar; taxpayers are always affected by civil rights fee awards. Cf.
Moore ex rel. Estate of Grady v. Tujela, 546 F. 3d 423, 429 (7th Cir. 2008) (arguments appealing
to jurors' pecuniary interests as taxpayers are improper). In any event, a fee award here might
well encourage Defendants' counsel to become better stewards of taxpayer resources. The City's
"no settle for any price" stance here was terribly inefficient, and the City should not come to
expect that courts will bend the law to bail it out where it gambles at trial and loses.
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II.    The Hours Sought By Plaintiff's Counsel Are Reasonable And Should Be Approved

       The Defendants raise separate objections to hours billed by Attorney Shellow and those

billed by Loevy & Loevy. Attorney Shellow has filed a separate Reply memorandum to address

the Defendants' specific objections to her time. As for the objections to Loevy & Loevy hours,

Plaintiff responds on several levels.

       First, for the Court's convenience, Plaintiff has reproduced Defendants' Tables 3-4,

adding an additional column containing Plaintiff's response addressing each of Defendants'

specific objections. These tables are attached hereto as Exhibits A & B. For the reasons set

forth therein, Defendants' individual objections should be overruled.

       Second, as for the four general categories of Defendants' objections, Plaintiff responds as

follows.

       A.      Defendants' "Block Billing" Objections Should Be Overruled

       To be clear, there is nothing per se objectionable about block billing. Farfaras v.

Citizens Bank and Trust of Chicago, 433 F.3d 558, 569 (7th Cir. 2006) ("Although 'block billing'

does not provide the best possible description of attorneys' fees, it is not a prohibited practice").

Moreover, block billing is particularly understandable and acceptable where the lawyers keeping

the time records are on trial. Spina v. Forest Pres. Dist. of Cook County., 98-C-1393, 2002 WL

1770010 (N.D. Ill. July 31, 2002) ("Similarly, while block billing 15 hours a day typically might

be deemed too vague and excessive to warrant payment, such entries are entirely appropriate

when devoted to trial preparation just before and during trial.")

       As explained in the response column in the attached Exhibits A & B, Loevy & Loevy

attorneys did not inappropriately block bill, and to the extent Defendants claim certain entries

required more explanation, that explanation has been provided. And as set forth in Plaintiff's

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Petition, other judges have had no problem approving similarly-billed Loevy & Loevy petitions

in full. This Court should likewise reject Defendants' "block billing" objections. See Garcia v.

City of Chicago, No. 01 C 8945, 2003 WL 22175620, *5 n.11 (N.D.Ill. Sept. 19, 2003)

("Contrary to the City's arguments, this court finds that L&L [Loevy & Loevy] sufficiently

accounted for the time of each attorney. Although L&L used shorthand for many entries, they

are clear enough to describe the tasks completed on the day in question and provide at least as

much detail as the Ancel Glink time records").5

        B.      Defendants' Misallocation Of Resources Objections Should Be Overruled

        Defendants also claim that certain hours should have been delegated to non-attorney staff

(Table 3). As set forth in Plaintiff's responsive columns (see Exhibits A & B) this objection has

no merit. Loevy & Loevy attorneys did not bill for inappropriate non-attorney tasks such as "to

open the case file, create a hard file, scan files and records, print, and file documents." Cavada

v. City of Chicago, No. 13 CV 1916, 2014 WL 4124273, *2 (N.D. Ill. Aug. 18, 2014); compare

Montanez, 755 F.3d at 555-56 (partner billed $450 for "scanning and faxing" and associate billed

many hours "doing nothing but filing motions in limine"). See also Vardon Golf Co., Inc. v.

Karsten Mfg. Corp., 99 C 2785, 2003 WL 1720066, *4 (N.D. Ill. March 31, 2003) ("The Court

will not involve itself in the kind of minute micro-managing of attorney's billing practices that

Vardon's position would require. Beyond the principle of reasonableness, parties need not

justify their billing practices nor their use of time and resources in litigation.").

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   Additionally, because defense counsel did not disclose their own bills, there is no way to know
if any of Defendants' attorneys (including recently-retained outside counsel who filed the
Defendants' Response) were vulnerable to the same criticism. Farfaras v. Citizens Bank and
Trust of Chicago, 433 F.3d 558, 569 (7th Cir. 2006) ("The rule's purpose is to avoid exactly the
type of hypocritical objections presented by the defendants. Although the defendants object to
the use of block billing and 'vague' descriptions by Farfaras's counsel, the defendants' counsel
used similarly vague descriptions and block billing.").
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       C.      Defendants' "Duplicative" Objections Should Be Overruled

       Defendants should be precluded from challenging any of counsels' hours as "excessive"

or "duplicative" on a particular task such as summary judgment, when they failed to disclose

how many hours they spent on the case or certain tasks. Indeed, the Court has no idea how many

hours the Defendants have invested in this case or the same tasks they take issue with here. See,

e.g., Garcia v. City of Chicago, No. 01 C 8945, 2003 WL 22175620, *4 (N.D. Ill. Sept. 19,

2003) (hours plaintiff spent litigating the case was reasonable by comparison to greater hours

spent by the defense).

       By way of just one example, Defendants challenged Plaintiff sending two attorneys to

Plaintiff's deposition when they also had two attorneys in attendance at Mr. Hardy's deposition.

See Exhibit A (Response to Table 4) 2/4/2014 entry.

       Moreover, contrary to Defendant's assumption, the fact that more than one attorney is

involved in a given task hardly constitutes grounds to automatically invalidate some the time.

T.P. ex rel. Kimbrely R. v. City of Chicago, 2011 WL 1197353, *9 (N.D.Ill. March 29, 2011)

("The billing records in this case reflect that Plaintiff's attorneys consulted with respect to

significant events in the prosecution of this case, including preparation for pre-hearing

conferences, the drafting of pre-hearing motions, and preparation for the due process hearing.

As discussed above, consultation under these circumstances is reasonable"); Dupuy v. McEwen,

648 F.Supp.2d 1007, 1020 (N.D.Ill. 2009) ("[T]he court finds that although several attorneys

devoted time to the same issue, it is generally clear that they were not duplicating work. Often,

one attorney was obviously the draftsman of a court filing, and the other the primary editor...

The court thus finds the majority of Defendant's objections to duplicated effort unavailing.");

Mostly Memories, Inc. v. For Your Ease Only, Inc., 594 F.Supp.2d 931, 935 (N.D.Ill. 2009)

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("Although Mostly Memories complains that certain billing entries involve discussions among

the multiple attorneys working on the case, time spent discussing issues with other attorneys is a

basic element of the practice of law and is compensable, if reasonable, in a fee petition.").

       Another problem with Defendants' objections is that wherever Defendants attempt to

label Plaintiff's time "duplicative," they then seek to exclude all of the time that any attorney

billed. See Dckt. 228 at 17-18 (Table 4) (adding up all hours they deemed duplicative to exclude

a total of 384.90 hours rather than excluding just one attorney's time). For example, Defendants

seek to exclude all of the time that every attorney spent during the jury trial as "duplicative." See

id. at 8/4/14 - 8/7/14 entries. Defendants presumably would have to acknowledge that at least

some of Plaintiff's attorney time at trial was not "duplicative." By taking such an unreasonable

and extreme position, Defendants foist upon the Court the burden of sorting it all out even were

it inclined to sustain the objection, which, in any event, it should not. As stated, the Defendants

have provided the Court with no context for assessing how many attorneys Defendants assigned

to the same tasks challenged here. Garcia, No. 01 C 8945, 2003 WL 22175620 at *4.

       Finally, Defendants' complaints about inefficiencies ring especially hollow when all of

the hours in dispute could have been avoided. Defendants' counsel not only refused to

recommend that the City accept Plaintiff's $10,000 settlement demand, but counsel also refused

to make any counter-demand of any kind. Courts are rarely shy about penalizing Plaintiff's

attorneys in fee litigation for failing to do substantially better than Defendants' settlement offers,

and that same principle runs both ways. See, e.g., Robinson v. City of Harvey, No. 99 C 3696,

2008 WL 4534158, *7 (N.D. Ill. Oct. 7, 2008) (awarding lodestar in part because "Mr. Loevy

was more than reasonable in his willingness to reduce his fee in an effort to resolve this case"

whereas defendants' refusal to settle forced the plaintiff to provide strict proof of his claims);

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Heder v. City of Two Rivers, 255 F.Supp.2d 947, 956 (E.D. Wis. 2003) (awarding full lodestar

because plaintiff offered to settle on reasonable terms before the lawsuit was filed and again

once the case had been litigated; court concluded: "the City has only itself to blame for the

disproportionality between the attorneys' fees incurred and the amount Heder recovered. . . and

[plaintiffs should not] be forced to swallow expenses incurred largely as result of the City's

approach to this litigation").6

        D.      Defendants' Objections To The Roughly 40 Hours Spent Preparing The Fee
                Petition Should Be Overruled

        As they often do, Defendants point out that Plaintiff's counsel seems to have devoted a

lot of time and careful attention to preparing his Fee Petition. It should hardly come as a

surprise, however, that Plaintiff's counsel has a strong interest in putting his best foot forward in

briefing this issue. Unlike Defendants' counsel who are paid, win or lose, at regular intervals

throughout the case (by salary for the in-house attorneys, and for every hour billed by outside

counsel), Plaintiff's counsel have yet to receive any compensation whatsoever for more than a

year of litigation. It is thus no wonder that Plaintiff's counsel are interested in ensuring that the

Court is provided with maximum assistance in assessing their position.

        Under the law, "[t]ime expended preparing a fee petition is compensable to the extent

that it is not disproportionate to the time spent on the merits of the case." Pasternak v. Radek, 07

C 2858, 2008 WL 2788551 (N.D. Ill. Apr. 3, 2008) (compensating counsel for 23 hours of time

6
  Nor should Defendants get any traction with their objections that time spent conferring and
strategizing together is uncompensable. See Fox ex rel. Fox v. Barnes, 09 C 5453, 2013 WL
4401802, at *4 (N.D. Ill. Aug. 15, 2013) ("Next Barnes contends that Loevy's rate should be
reduced because much of his billed time was spent [not actively participating and] conferring
with the other attorneys about strategy. It is true that the court must be on guard against time
spent inflating the bill with unnecessary tasks. The court knows Jon Loevy to be an experienced
trial lawyer, however, and the advice and consultation of a seasoned trial lawyer can be
invaluable in a complicated civil rights case such as this one.").
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spent on fee petition when counsel spent approximately 199 hours litigating the case). Here,

with some 46 hours spent on a fee petition seeking compensation for more than 1,000 hours,

Plaintiff seeks to recover substantially less hours as a percentage of time spent on the merits than

in either Pasternak or the case relied upon by the Defendants, Ustrak v. Fairman, 851 F.2d 983

(7th Cir. 1988).

       In fact, Defendants' citation to Ustrak supports, rather than undercuts, Plaintiff's position

that 40-hours is a reasonable amount of time for working on a fee petition. In that case, the

Seventh Circuit reduced by 2/3 the District Court's decision compensating attorneys and law

students for 140.45 hours spent on a fee petition. Ustrak, 851 F.2d 983, 987-88. The net result

was that the Seventh Circuit approved 46.35 hours for the Fee Petition, which is even more than

Plaintiff seeks here. And the basis for the reduction was at least in part the fact that, "[f]or every

hour spent litigating the merits the plaintiff's attorneys devoted almost 15 minutes to preparing a

petition requesting fees for that hour." Id. In the case at bar, by contrast, the 46 hours is a tiny

fraction of the time spent on the merits. It should be approved.7

III.           Defendants' Few Objections To Plaintiff's Hourly Rates Should Be
               Overruled, And Plaintiff's Rates Should Be Approved

       As stated, Attorney Shellow has filed her own Reply to Defendants' arguments about her

hourly rate. Loevy & Loevy's rates are discussed as follows.

       In barely a page of argument, Defendants have ignored all the declarations and case law

Plaintiff submitted on pages 9-23 of Plaintiff's Petition, which is precisely the kind of evidence

the Seventh Circuit has instructed attorneys to submit in support of fee petitions. Spegon v.
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   As was true with the underlying case, these 46 hours could have been avoided had the City
been willing to negotiate attorneys' fees in good faith. In Plaintiff's counsel's experience, many,
if not most, fee petitions are resolved by compromise. There is no room for a negotiated
resolution, however, where the City's view is that Plaintiff is entitled to nothing or a tiny fraction
of their fees.
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Catholic Bishop of Chicago, 175 F.3d 544, 556 (7th Cir. 1999). Under the case law, Defendants

have failed to meet their burden to show a "good reason why a lower rate is essential." People

Who Care v. Rockford Bd. of Ed., 90 F.3d 1307, 1313 (7th Cir. 1996).

       In particular, Plaintiff's counsel refers the Court to his opening Petition, Dckt. 219 at

8-12, and the evidence discussed therein, including:

       ! Jeff Scott Olson's declaration, a Madison, Wisconsin civil rights attorney who
       practices in the E.D. Wis. - Dckt. 219, Exhibit F (stating that he charges an hourly rate of
       $550 per hour as a 1976 graduate);

       ! Jonathan Safran's affidavit, a Milwaukee civil rights - Dckt. 219, Exhibit D (last
       hourly rate sought in the E.D. Wis. was $325);

       ! Loevy & Loevy attorneys' declarations stating their qualifications and rates they have
       been awarded by other courts, Dckt. 219, Exhibits J-O;

       ! the affidavit of Bruce Meckler, Dkct. 219, Exhibit F (expert fee report supporting the
       Loevy & Loevy attorneys' hourly rates);

       ! the case law supporting the Laffey Matrix as an appropriate measure of hourly rates;

       ! the case law awarding hourly rates for these attorneys cited in the opening brief. See,
       e.g., Dckt. 219 at 16-21 (citing prior awards as basis for hourly rates); and

       ! the actual hourly rates that courts have awarded these particular attorneys or other
       Loevy & Loevy colleagues on similar cases.

       Defendants make very few substantive responses. One is to suggest (incorrectly) that

Plaintiff has supposedly "submitted no evidence showing that their hourly rates comport with

prevailing market rates in Milwaukee." Def. Resp. at 20. There are several problems with that

argument. First, there is Seventh Circuit authority that attorneys should be compensated for their

established hourly rate even when practicing in other jurisdictions. Mathur v. Bd. of Trustees of

S. Illinois Univ., 317 F.3d 738, 744 (7th Cir. 2003); Chrapliwy v. Uniroyal, Inc., 670 F.2d 760,

768 (7th Cir. 1982). Regardless, it would not matter either way because, based on the evidence



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and cases cited in Plaintiff's Petition, there is no material difference (and Defendants have

certainly failed to demonstrate any) between the billing rates in Milwaukee and Chicago

anyway.

        Specifically, Defendants have ignored not only the Safran and Olson Declarations cited

above, but also the Wisconsin case law Plaintiff cited in this Petition that further supports the

rates sought as reasonable for this particular market. E.g., Sierra Club v. Jackson, No.

11-cv-315-wmc, 2013 WL 5409036, *4 (W.D. Wis. Sept. 25, 2013) (blended rate of $415 found

reasonable for two Madison attorneys with thirteen and nine years' experience for their

"collective efforts on a contingent fee matter" in environmental case); Alexander v. City of

Milwaukee, No. 03-C-611, 2006 WL 277114, at *6 (E.D. Wis. Feb. 3, 2006) (awarding hourly

rate of $250 for attorney with fifteen years' experience in an employment discrimination case

almost a decade ago).

        The only other argument or evidence upon which Defendants rely is their own outside

counsels' affidavits attesting that their own rates are far lower than that sought by Plaintiff's

counsel. This, however, is not a useful comparison. Defense attorneys are paid whether they

win or lose, and their billing rates thus tend to be lower than plaintiff's counsels' rates to reflect

the absence of any risk premium. One court explained additional reasons as follows:

        [H]ourly rates of the defense counsel are usually lower than those charged by the
        plaintiffs' counsel for noncontingent cases for various practical reasons, including the fact
        that the defense counsel normally represent clients with whom they have an ongoing
        relationship and, therefore, can adjust rates downward in expectation of payment for
        future work encompassing certain levels of time expenditures, in contrast to the plaintiffs'
        counsel, who usually will represent a client on a one-time basis. Even when defense
        clients retain counsel on a one-time litigation basis, the defense counsel are in a much
        better position than the plaintiffs' counsel to anticipate the level of time expenditure that
        will be required for the case, a factor with significant economic consequences.




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Clarke v. Ford Motor Co., 01-C-0961, 2006 WL 752902 (E.D. Wis. Mar. 21, 2006) (citation and

quotation omitted). See also Hasham v. California State Bd. of Equalization, 96 C 3326, 1999

WL 59850 (N.D. Ill. Feb. 1, 1999) ("It is recognized that hourly rates for defense counsel, who

do not work on a contingency basis and whose clients may have more bargaining power, are

sometimes lower than those for plaintiff counsel.").

       With Defendants' counsels' own affidavits being of little utility, there is really nothing

left of their argument. Having failed to rebut the extensive evidence supporting Plaintiff's hourly

rates, Defendants' objections should be overruled, and Plaintiff's counsels' rates approved.

                                             Conclusion

       Plaintiff's counsel undertook an extremely risky case, and litigated very hard and well,

achieving an outstanding result for Mr. Hardy at trial. Under the circumstances, the law supports

Plaintiff's counsels' lodestar request, and Plaintiff's counsel respectfully request that the Court

approve their Petition for fees and costs in full.

                                                          Respectfully Submitted,

                                                          /s/ Heather Lewis Donnell


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                                CERTIFICATE OF SERVICE

        I, Heather Lewis Donnell, an attorney, certify that on October 3, 2014, I filed a copy of
Plaintiff’s Reply in Support of His Petition for Attorneys’ Fees and Costs the Court’s CM/ECF
electronic filing system and thereby caused a copy of the same to be served on all counsel of
record.


                                             /s/ Heather Lewis Donnell




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